UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA
Case No: 20-CR-193 (01)(MJD/BRT)

UNITED STATES OF AMERICA,
PLEA AGREEMENT AND
Plaintiff, SENTENCING STIPULATIONS
Vv.

MICHAEL ROBERT SOLOMON,

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Defendant.

The United States of America and Michael Solomon (hereinafter referred to as “the
defendant’) agree to resolve this case on the terms and conditions that follow. This plea
agreement binds only the defendant and the United States Attorney’s Office for the District
of Minnesota. This agreement does not bind any other United States Attorney’s Office or
any other federal or state agency.

1. Charge. The defendant agrees to plead guilty to Count 1 of the Superseding
Indictment, which charges the defendant with conspiracy to provide material support and
resources, namely property, services and weapons, to Hamas, a designated foreign terrorist
organization, in violation of 18 U.S.C. § 2339B. The defendant is pleading guilty to this
charge because he is guilty of this charge. The government agrees to dismiss the remaining
counts in the Superseding Indictment at sentencing.

2. Factual Basis and Stipulated Facts. It is stipulated that the factual

 

assertions contained in the Superseding Indictment are true and that a sufficient factual

basis exists to support the defendant’s guilty plea. Moreover, the defendant agrees that
the following facts are accurate, and that the government has sufficient evidence to prove
the following at trial:

a. That during the timeframe described in the Superseding Indictment,
the defendant was a member of the “Boogaloo Bois,” a group of individuals
espousing violent anti-government sentiments.

b. That in early June of 2020, the defendant entered into an agreement
with his co-conspirator Benjamin Ryan Teeter (“Teeter”) to provide material
support and resources to Hamas, a designated Foreign Terrorist
Organization.

Cc. On June 10, 2020, the defendant and Solomon met with an individual
the defendant believed to be a member of Hamas (a confidential human
source, hereinafter “CHS”’). During this meeting, the defendant and Solomon
proposed assisting Hamas as a means of furthering the goals of the Boogaloo
Bois. Throughout the course of the conspiracy, the defendant used encrypted
messaging applications to communicate with Solomon and the CHS about
various aspects of the conspiracy.

d. On June 28, 2020, the defendant attended an in-person meeting with
Teeter, the CHS, and a second individual the defendant believed was a
member of Hamas (an undercover employee of the FBI, hereinafter “UCE”).
During this meeting, the defendant and Teeter proposed manufacturing
suppressors, untraceable firearms, and fully automatic firearms for Hamas.

e. On July 6, 2020, the defendant and Teeter purchased a drill press for
the purpose of manufacturing suppressors for Hamas. The defendant admits
that he and Teeter had planned to use the drill press to also manufacture
suppressors for members of the Boogaloo Bois. The defendant and Teeter
brought the drill press to the defendant’s home and later used the drill press
to manufacture five suppressors.

f. On July 30, 2020, the defendant and Teeter delivered five suppressors
to the CHS and UCE believing those devices would be used by the militant
wing of Hamas. The defendant stipulates and agrees that the suppressors he
and Teeter manufactured meet the statutory definition of a “firearm” under
26 U.S.C. § 5845(a)(7). The defendant and Teeter also agreed to manufacture
additional suppressors for Hamas believing that the next batch of suppressors
would be used against Israeli and United States military personnel overseas.

g. The defendant admits that on August 29, 2020, he and co-conspirator
Teeter gave the UCE a 3-D printed “auto sear” believing that the auto sear

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would be used by Hamas to convert semi-automatic rifles into fully
automatic rifles. The defendant admits that he purchased the auto-sears
involved in the conspiracy alleged in Count | of the Superseding Indictment
from portablewallhanger.com, a website marketing 3-D printed auto sears as
“wall hangers.” The defendant and Teeter then agreed to obtain, and did
obtain, another order of auto sears from this website for the CHS and the
UCE. The defendant stipulates and agrees that the auto sears he obtained
during the course of the conspiracy alleged in Count 1 of the Superseding
Indictment meet the definition of a “machinegun” under 18 U.S.C. §
921(a)(23).

h. The defendant admits that he knew Hamas was a designated terrorist
organization, and that the organization had engaged and was engaging in
terrorist activity or terrorism.

1. The defendant admits that he knew that his conduct was illegal, and
that he engaged in such conduct voluntarily and not under coercion or duress.

3. Statutory Penalties. The parties agree that Count | of the Superseding Indictment
carries maximum statutory penalties of:
a. twenty (20) years’ imprisonment;
b. a supervised release term of 5 years to life;
C. a criminal fine of $250,000; and

d. a mandatory special assessment of $100, which is payable to the Clerk
of Court prior to sentencing.

4. Waiver of Pretrial Motions. The defendant understands and agrees that
the defendant has certain rights to file pre-trial motions in this case. As part of this plea
agreement and based upon the concessions of the United States within this plea agreement,
the defendant knowingly, willingly, and voluntarily gives up the right to have any pending
motions resolved and to file any additional pre-trial motions in this case. The defendant

agrees that, by pleading guilty, he is withdrawing any motions previously filed.
5, Waiver of Constitutional Trial Rights. The defendant understands that he

 

has the right to go to trial. At trial, the defendant would be presumed innocent, have the
right to trial by jury or, with the consent of the United States and of the Court, to trial by
the Court, the right to the assistance of counsel, the right to confront and cross-examine
adverse witnesses, the right to subpoena witnesses to testify for the defense, the right to
testify and present evidence, and the right to be protected from compelled self-
incrimination. The defendant understands that he has the right to an attorney at every stage
of these proceedings and, if necessary, one will be appointed to represent him. The
defendant understands that he has the right to persist in a plea of not guilty and, if he does
so, he would have the right to a public and speedy trial. By pleading guilty, the defendant
knowingly, willingly, and voluntarily waives each of these trial rights, except the right to
counsel. The defendant understands that a guilty plea is a complete and final admission of
guilt and, if the Court accepts the guilty plea, the Court will adjudge the defendant guilty
without a trial.

6. Revocation of Supervised Release. The defendant understands that, if he
were to violate any condition of supervised release, he could be sentenced to an additional
term of imprisonment pursuant 18 U.S.C. §3583(e).

7. Guideline Sentencing Stipulations. The defendant agrees to be sentenced
in accordance with the Federal Sentencing Act, 18 U.S.C. § 3551, et seq., with reference
to the applicable United States Sentencing Guidelines (“U.S.S.G.”). The parties believe
that the Guidelines Manual incorporating amendments effective November 1, 2018, applies

in this case. The parties agree that the following calculations regarding the Guidelines will
ultimately be determined by the Court. Based on the information known to the parties at

the time of this agreement, the parties agree that the following Guidelines apply:

a.

Base Offense Level. The parties agree that the applicable guideline
section is U.S.S.G. §2M5.3(a), which provides a base offense level of
26.

Specific Offense Characteristics. The government believes a two-
level increase is applicable under U.S.S.G. §2M5.3(b)(1)Gf the
offense involved the provision of dangerous weapons, firearms, or
other material support or resources with the knowledge or reason to
believe they are to be used to commit or assist in the commission of a
violent act, increase by two levels). The defendant reserves the right
to oppose the application of this specific offense characteristic.

 

Chapter 3 Adjustments. The parties agree that the 12-level
adjustment described at U.S.S.G. § 3A1.4(a) applies.

 

Acceptance of Responsibility. The parties agree that ifthe defendant
(1) provides full, complete and truthful disclosures to the United
States Probation Office, including providing complete, accurate and
truthful financial information; (2) complies with all conditions of
release; (3) testifies truthfully during the change of plea and
sentencing hearings; (4) complies with this Agreement; and (5)
undertakes no act inconsistent with acceptance of responsibility
before the time of sentencing, the government agrees to recommend
that the defendant receive a two-level reduction for acceptance of
responsibility under U.S.S.G. §3El.1(a), and to move for an
additional one-level reduction under U.S.S.G. § 3E1.1(b). Whether
there will be a reduction for acceptance of responsibility shall be
determined by the Court in its discretion.

 

The parties further agree that the facts of this case support no other
specific offense characteristics or chapter three adjustments.

Total Offense Level. With the application of U.S.S.G. § 3A1.4, the
adjusted offense level is either 37 (including a 2-level increase under
§2M5.3(b)(2)) or 35 (without a 2-level increase under§2M5.3(b)(2)).
The Court will make the final determination of the total offense level.

Criminal History Category. The parties agree that because U.S.S.G.
§ 3A1.4 enhancement applies, the defendant has a criminal history
category of VI.

 
g. Guidelines Range. The parties agree that whether the adjusted
offense level is 37 or 35, the Guidelines range is 240 months’
imprisonment, the statutory maximum sentence.

h. Fine Range. The parties agree that whether the total offense level is
37 or 35, the fine range is $40,000 to $400,000. U.S.S.G. § 5E1.2.
There is no agreement as to the imposition of a fine or, if one is
imposed, the amount of any such fine.

i. Supervised Release. The parties agree that the Sentencing
Guidelines specify that, if a term of supervised release is ordered, the
term of supervised release is 5 years to life. U.S.S.G. §§ SD1.2(a)(2)
and 5D1.2(b)(1).

j. Departures. The parties agree that the defense reserves its right to
argue additional grounds for a downward departure or variance from
the ultimate guideline determination in this case.

8. Discretion of the Court. The foregoing stipulations are binding on the
parties, but do not bind the Court. The parties understand that the Sentencing Guidelines
are advisory and their application is a matter that falls solely within the Court’s discretion.
The Court may make its own determinations regarding the applicable guideline factors and
the applicable criminal history category. The Court may also depart from the applicable
guidelines. If the Court determines that the applicable guideline calculations or the
defendant’s criminal history category is different from that stated above, the parties may
not withdraw from this Agreement and the defendant will be sentenced pursuant to the
Court’s determinations.

9. Agreements as to Sentencing Recommendation. There is no agreement
between the parties as to a recommended sentence. The defendant acknowledges that the
government may ask for a sentence of up to 240 months. The defendant is free to

recommend whatever sentence he deems appropriate. If the Court does not accept the

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sentencing recommendation of the parties, the defendant will have no right to withdraw his
guilty plea.

10. Special Assessment. The Guidelines require payment of a special
assessment in the amount of $100 for each felony count of which the defendant is
convicted. U.S.S.G. § 5E1.3. In this case, the defendant stands convicted of one-count
and is required to pay $100.

11. Waivers of Appeal and Collateral Attack. The defendant hereby waives
the right to appeal any non-jurisdictional issues. This appeal waiver includes, but is not
limited to, the defendant’s waiver of the right to appeal guilt or innocence, sentence and
restitution, and the constitutionality of the statutes to which the defendant is pleading
guilty. The parties agree, however, that excluded from this waiver is an appeal by
defendant of the substantive reasonableness of a term of imprisonment. The defendant
also waives the right to petition under 28 U.S.C. § 2255, except based upon a claim of
ineffective assistance of counsel.

12. Forfeiture. The government reserves its right to proceed against any of the
defendant’s assets if said assets represent real or personal property involved in violations
of the laws of the United States or are proceeds traceable to such property.

13. FOIA Requests. The defendant waives all rights to obtain, directly or
through others, information about the investigation and prosecution of this case under the
Freedom of Information Act and the Privacy Act of 1974, 5 U.S.C. §§ 552, 552A.15.

14. Additional Consequences. The defendant understands that as a result of his

conviction, he could be assessed the costs of prosecution and experience additional
consequences, such as the loss of the right to carry firearms, the right to vote, and the right

to hold public office.

15. Complete Agreement.

This, along with any agreement signed by the

Parties before entry of plea, is the entire agreement and understanding between the United

States and the defendant.

(Muy - |
Dated: December, 202

Dated: Dees 1. 2020 ¢

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